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§§ §.§‘-§ 23 §§ iFi= id

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DlVlSlON

 

UN|TED STATES OF AMER}CA

 

Plaintiff

VS.
CR. NO. 04-20471-0

NAKEC|A PORTER,
TAi\/ll\/lY CRA|G

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DEL/-\Y
AND SETT|NG

 

This cause came on for a report date on |Vlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21, 2005. at 9:00 a.m., in Courtroom 3, 9th F|oor of the
Federa| Building, lVlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so oRDERED this §§ day or May, 2005.

 

N|TED ST)-L\TES D|STR|CT JUDGE

This document entered on the docket sheetlyt compliance

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with Ru|e 55 and/or 32(b} FFlCrP on d g Q\§

 

     

 

UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 69 in
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Honorable Bernice Donald
US DISTRICT COURT

